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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



   N.V.E., INC.

                           Plaintiff,
                      v.                                            Civil Action No. 06-5455

   JESUS J. PALMERONI, et al.,                                               ORDER

                           Defendants.


          THIS MATTER comes before the Court on Plaintiff N.V.E., Inc.’s (“Plaintiff”) Motion

  to Vacate the Court’s September 21, 2011 Order, ECF No. 731, Plaintiff’s Motions in limine, ECF

  No. 732, and Defendant Jesus J. Palmeroni’s (“Palmeroni”) Motion to Dismiss and Motions in

  limine, ECF No. 741;

          and for the reasons stated on the record on January 23, 2020;

          IT IS on this 27th day of January, 2020;

          ORDERED that decision on Plaintiff’s Motion to Vacate the portion of the September 21,

  2011 Order, ECF Nos. 231-232, regarding an adverse inference instruction, ECF No. 731, is

  RESERVED until the close of the presentation of evidence at trial; and it is further

          ORDERED that Plaintiff’s Motion in limine to exclude prior convictions of Occhifinto,

  Prindle, Palmeroni, and Defendant Vincent Rosarbo (“Rosarbo”), ECF No. 732, is GRANTED;

  and it is further

          ORDERED that Plaintiff’s Motion in limine to exclude evidence of: (1) the fact that

  Occhifinto had a child with an N.V.E. employee, (2) Occhifinto’s wealth, (3) Defendants’ lack of

  wealth, (4) the fact that N.V.E. hired undocumented workers, (5) N.V.E.’s trademark infringement

  litigation in Michigan in 2016, (6) the fact that Rosarbo has cared for his disabled relatives, (7) the


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  fact that N.V.E. applied for permits from the Drug Enforcement Agency (“DEA”), and (8)

  affirmative evidence of Occhifinto’s business relationship with Jared Wheat, ECF No. 732, is

  GRANTED; and it is further

            ORDERED that Palmeroni’s Motion to Dismiss, ECF No. 741 is DENIED; and it is

  further

            ORDERED that Palmeroni’s Motion in limine to exclude the expert report and testimony

  of Darryl Neier, ECF No. 741.2, is DENIED and Mr. Neier may present evidence regarding

  Plaintiff’s disgorgement/unjust enrichment theory of damages at trial.

                                                      /s Madeline Cox Arleo___________
                                                      HON. MADELINE COX ARLEO
                                                      UNITED STATES DISTRICT JUDGE




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